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  10
                            UNITED STATES DISTRICT COURT
  11
                           CENTRAL DISTRICT OF CALIFORNIA
  12
       FREDERICK RICH, in the right of and
  13                                 )
       for the benefit of U.S. Aerospace, Inc.    Case No. CV 11-04272 GAF(SPx)
                                     )
  14              Plaintiff,         )
                                     )            VERIFIED SECOND AMENDED
  15         v.                      )            DERIVATIVE COMPLAINT
                                     )
  16   JOHN C. KIRKLAND,             )
       LUCE, FORWARD, HAMILTON &     )            JURY TRIAL DEMANDED
  17                                 )
       SCRIPPS LLP,
       JERROLD S. PRESSMAN,          )
  18                                 )
       KENNETH J. KOOCK,
  19   MICHAEL L. GOLDBERG,          )
       JAMES D. HENDERSON,           )
  20   HAL KOLKER,                   )
       CHARLES S. ARNOLD,            )
  21   TUSA ACQUISITION CORPORATION, )
       AMERICAN DEFENSE              )
  22   INVESTMENTS, LLC and          )
       DOES 1 through 10,            )
  23                                 )
                  Defendants,        )
  24         and                     )
                                     )
  25   U.S. AEROSPACE, INC.          )
                                     )
  26              Nominal Defendant. )
                                     )
  27                                 )
  28                                 )
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   1          Plaintiff Frederick Rich (“Plaintiff”), by and through his attorneys,
   2   derivatively on behalf of U.S. Aerospace, Inc. (“USAE” or the “Company”), alleges
   3   upon personal knowledge as to himself and his own acts, and upon information and
   4   belief as to all other matters, based upon, inter alia, the investigation conducted by
   5   and through their attorneys, which included, among other things, a review of
   6   Company filings with the Securities and Exchange Commission (“SEC”), news
   7   reports, press releases, and other publicly available documents regarding the
   8   Company and the Defendants, as follows:
   9
  10                           I.     NATURE OF THE ACTION
  11          1.    Plaintiff, derivatively on behalf of Nominal Defendant USAE, seeks
  12   relief for the damages sustained and to be sustained by the Company for
  13   wrongdoing committed between April 1, 2010 and the present (the “Relevant
  14   Period”) against:
  15                a.     John C. Kirkland (“Kirkland”) and Luce, Forward, Hamilton &
  16                       Scripps LLP (“Luce”)1 for breach of fiduciary duty, aiding and
  17                       abetting breach of fiduciary duty, legal malpractice and corporate
  18                       waste;
  19                b.     Hal Kolker, the sole member of the USAE Board of Directors
  20                       (the “Board”) at the date of the filing of the initial complaint in
  21                       this action on May 18, 2011, for breach of fiduciary duty;
  22                c.     certain former members of USAE’s Board, Jerrold S. Pressman
  23                       (“Pressman”), Kenneth J. Koock (“Koock”), Michael L.
  24                       Goldberg (“Goldberg”), and James D. Henderson (“Henderson”)
  25                       (collectively, the “Former Director Defendants”), for breach of
  26                       fiduciary duty and corporate waste;
  27
       1
  28          In March of 2012, the Luce firm was acquired by McKenna Long & Aldridge
       LLP.
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   1               d.     the holders of USAE’s Series E Preferred Stock, TUSA
   2                      Acquisition    Corp.      (“TUSA”)      and    American     Defense
   3                      Investments,       LLC    (“ADI”)    (the   “Majority    Shareholder
   4                      Defendants”), for breach of fiduciary duty; and
   5               e.     Charles S. Arnold (“Arnold”) for aiding and abetting breach of
   6                      fiduciary duty.2
   7         2.    By the acts alleged herein, Defendant Kirkland has violated numerous
   8   provisions of the California Rules of Professional Conduct, ignored irreparable and
   9   unwaivable conflicts between his client USAE and ADI, and subsumed his
  10   obligations to USAE in favor of the interests of ADI and the other Series E preferred
  11   shareholders.
  12         3.    The Former Director Defendants, which were hand-picked by Majority
  13   Shareholder Defendant ADI, breached their fiduciary duties by purporting to ratify
  14   Kirkland’s wrongful conduct to the detriment of the Company and committed
  15   corporate waste by permitting the Company to issue millions of shares of Company
  16   stock to the Majority Shareholder Defendants without meaningful consideration, and
  17   by permitting millions of shares to be issued to purported “consultants”, Omnicom
  18   Holdings,   Inc.   (“Omnicom”)        and   Summit     Trading,   without    meaningful
  19   consideration. As active participants in the alleged fraudulent acts alleged herein,
  20   any litigation demand made on the Former Director Defendants pursuant to Rule
  21   23.1 of the Rules of the Court of Chancery of the State of Delaware (“Chancery
  22   Court Rules”) would have been futile.
  23         4.    Moreover, the Majority Shareholder Defendants, ADI and TUSA,
  24   which control a majority of the USAE Board, have breached and continue to breach
  25   their fiduciary duties owed to the Company and the minority shareholders by
  26   insisting that the Company be placed into bankruptcy rather than accept financing,
  27   2
           Defendants Kirkland, Luce, Kolker, Pressman, Koock, Goldberg, Henderson,
  28   TUSA, ADI and Arnold are collectively referred to herein as the “Defendants.”


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   1   which could allow the Company to become profitable under the premise that the
   2   Majority Shareholder Defendants could emerge from the proceedings owning a shell
   3   company containing the necessary licenses to enter into government contracts and
   4   other valuable Company assets.
   5          5.     Also, Defendant Arnold has aided and abetted the aforementioned
   6   breaches of fiduciary duty by Defendants Kirkland and Luce, the Former Director
   7   Defendants and the Majority Shareholder Defendants by, among other things,
   8   misrepresenting to the Company that he and Defendant Kirkland owned USAE debt
   9   which was actually owned by another party.            Defendant Arnold, along with
  10   Defendant Kirkland, then directed the Company to expand the Board and to appoint
  11   four of the Former Director Defendants to the USAE Board. The Former Director
  12   Defendants then granted Arnold’s company, Summit Trading, an option to purchase
  13   5 million shares of USAE for no consideration. Defendant Arnold also participated
  14   in engineering a transaction which resulted in Defendants ADI and TUSA owning
  15   the majority of USAE’s voting shares. Defendant Arnold’s wife is the President and
  16   shareholder of TUSA. Finally, after Defendants Kirkland and Pressman engineered
  17   a sham settlement with Omnicom whereby Omnicom was issued 15 million shares
  18   of Company stock worth $2.3 million without consideration to the Company,
  19   Defendant Arnold directed his employees to re-issue 4.5 million of those shares to a
  20   series of other entities.
  21          6.     Finally, Defendant Kolker, the only member of the USAE Board at the
  22   time of the initial filing of this action, May 18, 2011, was brought in to represent the
  23   interests of, and be beholden to, Kirkland, Arnold and the other Defendants
  24   following the resignation and/or termination of the other Board members when the
  25   wrongdoing described herein was brought to light. Indeed, Defendants Arnold and
  26   Kirkland initially introduced Defendant Kolker to USAE in early 2010 in order that
  27   Defendant Kolker might provide financing to the Company. Defendants Arnold and
  28   Kirkland represented to USAE’s then Chief Executive Officer, David Duquette, that


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   1   Defendant Kolker had previously engaged in a number of business deals with
   2   Arnold and Kirkland. While he did not invest in the Company at that time, Arnold
   3   and Kirkland turned to him in March of 2011 in order to ensure that their interests
   4   would be protected.
   5         7.     Defendant Kolker signed, purportedly on April 29, 2011, and
   6   purportedly on behalf of USAE, documents entitled, “Mutual General Release” in
   7   an attempt to release Defendants Arnold, Goldberg, Henderson, and Koock from
   8   any and all liability for claims the Company has against them. Kolker also signed
   9   similar documents, purportedly on behalf of USAE, titled, “Settlement Agreement
  10   and Release” in an attempt to release Defendants ADI and TUSA from liability for
  11   any and all claims the Company has against them. Any litigation demand made on
  12   Defendant Kolker pursuant to Rule 23.1 of the Chancery Court Rules would have
  13   been futile given the fact that: (a) Defendant Kolker had prior business and personal
  14   dealings with other Defendants, including Defendants Arnold and Kirkland, and
  15   therefore was not and is not independent; and (b) Defendant Kolker’s actions while
  16   serving as the solitary Board member of USAE, including the signing of the
  17   Releases, demonstrate that he was beholden to the Defendants.
  18
  19                         II.    JURISDICTION AND VENUE
  20         8.     This Court has jurisdiction over this action pursuant to 28 U.S.C.
  21   §1332(a)(1) in that Plaintiff and Defendants are citizens of different states and the
  22   matter in controversy exceeds $75,000, exclusive of interests and costs. This action
  23   is not a collusive action designed to confer jurisdiction on a court of the United
  24   States that it would not otherwise have.
  25         9.     Venue is proper in this Judicial District pursuant to 28 U.S.C.
  26   §1391(b)(2) because a substantial portion of the events or omissions giving rise to
  27   the claims alleged herein occurred within this Judicial District.         Moreover,
  28   Defendants have received substantial payments in this Judicial District by doing


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   1   business here and engaging in numerous activities that had an effect in this Judicial
   2   District.
   3
   4                                     III.   PARTIES
   5   A.     The Plaintiff
   6          10.   Plaintiff Frederick Rich is a citizen of the United States of America, is
   7   domiciled in Tomball, Texas and has owned at all times relevant to this action, and
   8   continues to own, the Company’s common stock.
   9   B.     The Nominal Defendant
  10          11.   Nominal    Defendant    U.S.   Aerospace,     Inc.   (“USAE”     or   the
  11   “Company”), formerly known as New Century Companies, Inc. (“New Century”),
  12   was incorporated in the state of Delaware on August 1, 1980 and headquartered at
  13   10291 Trademark Avenue, Rancho Cucamonga, California, County of San
  14   Bernardino 91730.
  15          12.   On October 9, 2009, New Century entered into a share exchange
  16   agreement with Precision Aerostructures, Inc. (“PAI”) pursuant to which the
  17   President and sole shareholder of PAI, Michael C. Cabral, agreed to transfer all
  18   capital stock of PAI to New Century. USAE operates through PAI. USAE’s
  19   common stock is quoted on the Over-the-Counter Bulletin Board (“OTC Bulletin
  20   Board”) under the symbol “USAE”. On or about April 19, 2010, the Company
  21   changed its name from New Century Companies, Inc. to U.S. Aerospace, Inc.
  22          13.   USAE is an aerospace and defense contractor engaged in the
  23   production of aircraft assemblies, structural components, and highly engineered,
  24   precision machined details for the United States Department of Defense, United
  25   States Air Force, Lockheed Martin Corporation, The Boeing Company, L-3
  26   Communications Holdings, Inc., the Middle River Aircraft Systems subsidiary of
  27   General Electric Company, and other aircraft manufacturers, aerospace companies,
  28   and defense contractors. The Company supplies structural aircraft parts for military


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   1   aircraft such as the P-3 Orion, and wide-body commercial airliners such as the
   2   Boeing 747.
   3   C.    Defendants Kirkland And Luce, Forward, Hamilton & Scripps LLP
   4         14.     Defendant John C. Kirkland is a citizen of the United States of
   5   America, is domiciled in California, is an attorney admitted to practice law in the
   6   State of California, at the time of the filing of this action, was “Of Counsel” with
   7   Defendant Luce and worked from the firm’s Los Angeles office. From on or about
   8   February 18, 2009 to March 5, 2011, Defendant Kirkland was a partner of
   9   Defendant Luce. Defendant Kirkland left Luce shortly after the filing of this action.
  10   During the Relevant Time Period, Defendant Kirkland and his law firm, Luce,
  11   served as outside legal counsel to USAE. Defendant Kirkland has been a member
  12   of or associated with at least half a dozen law firms during his legal career,
  13   including: (1) Defendant Luce; (2) Dreier Stein Kahan Browne Woods George; (3)
  14   Lowenstein, Sandler LLP; (4) Greenberg Traurig; LLP; (5) Weissmann Wolff
  15   Bergman Coleman Grodin & Evall LLP; and (6) Cadwalader Wickersham & Taft
  16   LLP. He is also currently the Managing Director at Ironridge Global Partners.
  17         15.     While a partner at Greenberg Traurig LLP, Defendant Kirkland and the
  18   firm were named in a $50 million civil suit filed by a mail-order food marketing
  19   company, GreatMeals, USA, Inc. (“GreatMeals”), against former boxing champion
  20   George Foreman over a failed steak venture.         The suit claimed that Kirkland
  21   conspired with Foreman to transfer control of certain business opportunities to
  22   Kirkland’s brother, Victor Kirkland. GreatMeals also alleged that the defendants
  23   acted with fraud and malice in an attempt to put it out of business by interfering with
  24   a valuable contract between GreatMeals and Home Shopping Network.
  25         16.     Defendant Kirkland joined Defendant Luce in 2009 after leaving Dreier
  26   Stein Kahan Browne Woods George in Los Angeles, an affiliate of Dreier LLP that
  27   broke up in January 2009 after Marc Dreier was charged with impersonating an in-
  28   house lawyer at a Canadian pension fund. Dreier pleaded guilty to selling more than


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   1   $700 million in fictitious real estate development notes and fake pension plan notes.
   2   The elaborate four-year scheme, which netted roughly $400 million, led to the
   3   implosion of Dreier’s 250-attorney firm, Dreier LLP, and its affiliates, including
   4   Dreier Stein Kahan Browne Woods George. Defendant Kirkland was one of two
   5   former partners from Dreier LLP subpoenaed by the firm’s liquidating trustee in
   6   May 2009. The Dreier bankruptcy trustee stated in court documents that he
   7   suspected Kirkland may be essentially engaging in misappropriation and fraud. The
   8   trustee stated: “With his new firm [Luce], Mr. Kirkland may even be directing
   9   [former Dreier] clients to pay [Luce] instead of [Dreier].” In his efforts to marshal
  10   assets for the estate, the bankruptcy trustee obtained a court order to examine
  11   Kirkland under oath.     The bankruptcy court also issued a subpoena to Luce’s
  12   managing partner, ordering the firm to produce documents relating to the Dreier
  13   bankruptcy.
  14         17.     At the time of the filing of this action, Defendant Luce, Forward,
  15   Hamilton & Scripps LLP (“Luce”) was a limited liability partnership doing
  16   business in California, with offices located in San Diego, San Francisco, Los
  17   Angeles, Orange County, Carmel Valley and Rancho Santa Fe. At the time of the
  18   initiation of this action, each of Luce’s ninety-one partners was a citizen of the
  19   United States of America and was domiciled in California. Luce was, therefore, a
  20   citizen of California. On March 6, 2012, Defendant Luce merged with McKenna
  21   Long & Aldridge LLP, and is now known by and rendering professional services
  22   under the name McKenna Long & Aldridge LLP.
  23         18.     At the time of the filing of this action, Luce’s firm website stated:
  24   “Luce Forward’s dynamic practice is home to attorneys working in major business
  25   centers throughout California. We are known as a top law firm throughout the state
  26   and represent clients from across the country. For over 135 years, our mission and
  27   values have been our guide.” Luce’s mission included “[d]eliver[ing] dedicated
  28   service at a value that larger firms cannot provide” and “[e]xceed[ing] the high


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   1   expectations of sophisticated clients.” Luce’s values included “[t]eamwork, loyalty,
   2   trust, communication and mutual support.”
   3   D.    The Former Director Defendants
   4         19.   Defendant Jerrold S. Pressman is a citizen of the United States of
   5   America, is domiciled in California and has been a member and Chairman of the
   6   USAE Board since April 5, 2010.        The principals of ADI directed Defendant
   7   Kirkland and Defendant Charles S. Arnold to select Defendant Pressman as a Board
   8   member. Defendant Pressman was Defendant Kirkland’s client during all relevant
   9   times on unrelated matters. In or about April 2010, Defendant Pressman received an
  10   option to purchase 1 million shares of USAE stock.
  11         20.   Defendant Kenneth J. Koock is a citizen of the United States of
  12   America, is domiciled in New Jersey and has been a Director of USAE since April
  13   5, 2010. The principals of ADI directed Defendants Kirkland and Arnold to select
  14   Defendant Koock as a Board member. In or about April 2010, Defendant Koock
  15   received an option to purchase 1 million shares of USAE stock.
  16         21.   Defendant Michael L. Goldberg is a citizen of the United States of
  17   America, is domiciled in Florida and has been a Director of USAE since April 5,
  18   2010. The principals of ADI directed Defendants Kirkland and Arnold to select
  19   Defendant Goldberg as a Board member.          In or about April 2010, Defendant
  20   Goldberg received an option to purchase 1 million shares of USAE stock.
  21         22.   Defendant James D. Henderson is a citizen of the United States of
  22   America, is domiciled in California and has been a Director of USAE since April 5,
  23   2010. The principals of ADI directed Defendants Kirkland and Arnold to select
  24   Defendant Henderson as a Board member. In or about April 2010, Defendant
  25   Henderson received an option to purchase 1 million shares of USAE stock.
  26         23.   Defendants Pressman, Koock, Goldberg, and Henderson are sometimes
  27   collectively referred to herein as the “Former Director Defendants.”
  28


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    1   E.    Defendant Hal Kolker
    2         24.    Defendant Hal Kolker was appointed to the USAE Board on March
    3   16, 2011 and was the sole member of the Board upon the filing of the initial
    4   complaint in this action on May 18, 2011. Defendant Kolker is a citizen of the
    5   United States of America and is domiciled in California.
    6   F.    Defendant Charles S. Arnold
    7         25.    Defendant Charles S. Arnold is a citizen of the United States of
    8   America, is domiciled in Florida and is a principal of Summit Trading Limited.
    9   Defendant Arnold and Defendant TUSA share the same address: 520 Brickell Key
   10   Drive, Suite 1607, Miami, Florida 33131.
   11         26.    Upon information and belief, Defendant Arnold has a pattern and
   12   practice of entering into stock promotion contracts with penny stock companies in
   13   return for a substantial amount of stock in the company. He, along with others,
   14   publishes or promotes positive stories about those fledgling companies and is then
   15   able to reap a windfall when the positive stories spur investors to drive these stock
   16   prices higher.
   17         27.    On May 21, 2002, a federal grand jury returned an Indictment charging
   18   Defendant Arnold and others with one count of wire, mail and securities fraud
   19   conspiracy, in violation of 18 U.S.C. § 371, thirteen counts of wire fraud, in
   20   violation of 18 U.S.C. §§ 1343 and 1346, one count of mail fraud, in violation of 18
   21   U.S.C. §§ 1341 and 1346, and one count of securities fraud, in violation of 15
   22   U.S.C. § 78j(b) and 17 C.F.R. § 240.10b-5. Defendant Arnold was a stock promoter
   23   and a controlling shareholder of a company named A1 International, Inc.
   24   (“AWON”), the common stock of which was publicly traded on the over-the-
   25   counter market. According to the Indictment, Defendant Arnold and others agreed
   26   to pay an approximately $2.5 million undisclosed kickback to a confidential
   27   informant for the FBI and others to induce a fictitious foreign mutual fund to buy
   28


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    1   approximately 4 million shares of overpriced AWON stock for a total of $8 million.
    2   Defendant Arnold, however, was ultimately acquitted.
    3   G.    The Majority Shareholder Defendants
    4         28.      Defendant TUSA Acquisition Corp. (“TUSA”), at the time of the
    5   filing of this action, was a holder of 127,931 shares of USAE Series E Preferred
    6   Stock, each of which was convertible into 500 shares of USAE common stock.
    7   TUSA is incorporated in Delaware and its principle place of business is located
    8   (with Defendant Arnold) at 520 Brickell Key Drive, #1607, Miami, Florida 33131.
    9   TUSA’s President and stockholder is Daisy Rodriguez, Defendant Arnold’s wife.
   10         29.      Defendant American Defense Investments, LLC (“ADI”), at the time
   11   of the filing of this action, held 255,862 shares of USAE Series E Preferred Stock,
   12   each of which was convertible into 500 shares of USAE common stock. ADI is
   13   incorporated in Delaware and its principle place of business is located at 1301 South
   14   75th Street, Suite 100, Omaha, Nebraska 68124. ADI’s Managing Director and only
   15   member is Richard N. Berkshire of Berkshire & Burmeister, located at 1301 South
   16   75th St., Suite 100, Omaha, Nebraska 68124. Richard N. Berkshire is citizen of the
   17   United States of America and is domiciled in Nebraska. Therefore, ADI is a citizen
   18   of Nebraska.
   19         30.      Defendants TUSA and ADI, by virtue of their conversion rights,
   20   control a majority of the shares of USAE and elect its Board. Defendants TUSA
   21   and ADI are sometimes referred to herein as the “Majority Shareholder
   22   Defendants.”
   23   H.    The Doe Defendants
   24         31.      Plaintiff does not know the true names and capacities, whether
   25   individual, corporate, associate, or otherwise of defendants Does 1 through 10,
   26   inclusive. Plaintiff is informed and believes and based upon such information and
   27   belief alleges that each fictitious defendant was in some way responsible for,
   28   participated in, or contributed to the matter and things of which Plaintiff complains


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    1   herein, and in some form and under some theory, is subject to liability therefore.
    2   When the exact nature and identity of such fictitious defendants’ responsibility for,
    3   participation in, and contribution to the matters herein alleged is ascertained,
    4   Plaintiff will seek leave to amend this Complaint to set forth the same.
    5
    6                        IV.    SUBSTANTIVE ALLEGATIONS
    7         32.    In October 2009, when New Century purchased PAI, New Century’s
    8   Board consisted of David Duquette, the President of the Company, and Josef
    9   Czikmantori, the acting Secretary.
   10         33.    At the time, a New York-based asset management firm owned
   11   approximately $3.5 million of New Century’s debt. Subsequent to New Century’s
   12   October 2009 purchase of PAI, Defendants Kirkland and Arnold acquired from the
   13   New York-based asset management firm, for approximately $100,000, an option to
   14   purchase its debt. Defendants Kirkland and Arnold then approached Mr. Duquette
   15   and Mr. Czikmantori and threatened to foreclose on New Century’s debt unless New
   16   Century provided Defendants Kirkland and Arnold with a controlling number of
   17   seats on its Board. Defendants Kirkland and Arnold based these threats, in part, on
   18   the false pretense that they actually owned the debt.
   19         34.    As a result, on or about April 5, 2010, Mr. Duquette and Mr.
   20   Czikmantori expanded the number of directors on New Century’s Board to seven
   21   and appointed six new directors. Of those six new directors, Defendants Pressman,
   22   Koock, Goldberg and Henderson were appointed at the direction of Defendants
   23   Kirkland and Arnold. The principals of ADI directed Defendants Kirkland and
   24   Arnold to select those specific new Board members. Also appointed at that time
   25   were Michael C. Cabral and Randall Humphreys. After passing those resolutions,
   26   Mr. Duquette remained the Company’s CEO and kept this seat on the Board, while
   27   Mr. Czikmantori remained Secretary but resigned his Board membership.
   28


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    1         35.   The newly expanded Board met a few days later and, upon information
    2   and belief, passed a resolution providing the Board members with options to
    3   purchase one million shares of USAE common stock at $0.13 a share. Half of those
    4   options would vest one year from the resolution and the other half would vest a year
    5   later. The Board gave an additional option to purchase 5 million shares to Summit
    6   Trading, owned or controlled by Defendant Arnold,3 in exchange for unspecified
    7   “investor relations” services. The Board also established Defendant Kirkland and
    8   his law firm, Defendant Luce, as outside counsel and, on or about April 19, 2010,
    9   changed New Century’s name to U.S. Aerospace, Inc.
   10         36.   Shortly thereafter, Defendant Kirkland spearheaded a transaction in
   11   which the Company sought to purchase Antonov USA from ADI and TUSA.
   12   Defendant Arnold’s wife, Daisy Rodriguez, is the President and stockholder of
   13   TUSA. The supposed purpose of the transaction was for the Company to acquire
   14   Antonov USA’s sole asset, its purported existing relationship with the Antonov
   15   Company, a Ukrainian state-owned company with the capacity to undertake large
   16   aeronautical manufacturing projects.
   17         37.   On or about July 1, 2010, USAE purchased Antonov USA in exchange
   18   for an aggregate of 383,793 shares of Series E Convertible Preferred Stock with a
   19   par value of $1.00. Two-thirds of that stock was paid to ADI. Under the governing
   20   documents, the holders could convert each series E share into 500 shares of USAE
   21   common stock. The Series E voted together with the common stock as a single class
   22   on an as-converted basis, and the Series E benefitted from non-dilution protection.
   23   Given the number of circulating common shares, after the purchase of Antonov
   24
   25   3
              Summit Trading Limited is a Bahamian holding company and is owned by
   26   the Weast Family Trust, a private irrevocable trust established for the benefit of
   27   Defendant Arnold, Daisy Rodriguez, Stephanie Kaye and Tracia Fields. Defendant
        Arnold is the settler of the Weast Family Trust, and his interest in Summit Trading
   28   Limited is approximately 80% of the value.


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    1   USA, the Series E holders, i.e., ADI and TUSA, held the majority of voting shares
    2   in USAE.
    3         38.    The same day as the Antonov USA purchase, USAE entered into a
    4   Strategic Cooperation Agreement with the Antonov Company.
    5         39.    On July 6, 2010, the Company filed a report on Form 8-K with the SEC
    6   concerning a press release issued that same day announcing the Company’s
    7   “Strategic Cooperation Agreement” with Antonov to bid on a Request for Proposal
    8   (“RFP”) form the U.S Air Force for the KC-Y Tanker Modernization Program. The
    9   press release stated, in relevant part:
   10         LOS      ANGELES—(BUSINESS              WIRE)—U.S.     Aerospace,   Inc.
   11         (OTCBB: USAE), an aerospace and defense contractor, today
   12         announced that it has entered into a Strategic cooperation agreement
   13         with Antonov to bid on the request for proposal to supply 179 aerial
   14         refueling tankers to the U.S. Air Force.
   15
   16         The airframes will be built in Ukraine by Antonov, with final assembly
   17         at a new U.S. Aerospace, Inc. facility in the United States. The KC-X
   18         Tanker Modernization Program, expected to be the largest contract in
   19         Pentagon history, represents the first step of the strategic cooperation
   20         between Antonov and U.S. Aerospace, Inc. to supply and service
   21         aircraft to the U.S. military and commercial aircraft markets.
   22
              Antonov designed, built and operates the world’s largest aircraft, the
   23
              AN-225, which provides strategic airlift capabilities for the U.S.
   24
              Department of Defense and others. Antonov and U.S. Aerospace, Inc.
   25
              will bid three models for the KC-X program, the AN-124-KC, AN-122-
   26
              KC, a twin-engine variant of the AN-124-100 with advanced engines,
   27
              electronics and avionics, and AN-112-KC, an updated airframe
   28
              designed specifically to meet the tanker program requirements.


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    1         “Antonov’s participation in the U.S. Air Force tanker bid with U.S.
    2         Aerospace, Inc. is an historic opportunity for Antonov to showcase its
    3         premier design, engineering and manufacturing capabilities to the
    4         world,” said Dmytro S. Kiva, President and General Designer of
    5         Antonov.    “We are extremely pleased to have entered into this
    6         agreement with U.S. Aerospace, Inc., and are looking forward to the
    7         long-term mutual benefits of our partnership.”
    8
              “We are honored to be partnering with the world’s premier designer
    9
              and manufacturer of large transport aircraft,” said Jerrold S. Pressman,
   10
              Chairman of U.S. Aerospace, Inc. “We are particularly impressed by
   11
              Mr. Kiva’s strong leadership and vision for the future. Together we can
   12
              deliver the U.S. Air Force a superior tanker at the most competitive
   13
              price.”
   14
   15   USAE, Current Report (Form 8-K), at Ex. 1 (July 6, 2010).
   16         40.   On or about July 9, 2010, USAE submitted a response to the RFP,
   17   under which the aircraft components would have been built by Antonov Company in
   18   the Ukraine, with final assembly by USAE. Since the U.S. Air Force denied the
   19   Company’s request for an extension of the bidding deadline on July 8, 2010, the
   20   Company bid only one model of aircraft, the AN-112-KC.
   21         41.   The Boeing Company and The European Aeronautic Defense and
   22   Space Company N.V., also bid on the RFP utilizing existing wide body commercial
   23   airliners as the basis for their KC-X tanker proposals. Both designs were advanced
   24   and well developed, and both companies invested considerable resources into
   25   designing their tankers and in preparing their responses to the RFP. Both companies
   26   spent substantially more time, money and effort preparing their RFP responses than
   27   USAE did.
   28


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    1         42.   Ultimately, the Air Force found USAE’s bid untimely and failed to
    2   consider it. On August 2, 2010, the Company submitted a bid protest to the General
    3   Accounting Office (“GAO”). On October 6, 2010, the GAO denied the Company’s
    4   bid protest. USAE and the Antonov Company have yet to submit a successful bid
    5   together, and, ultimately, the Company recorded an impairment charge equal to the
    6   net book value of the Strategic Cooperation Agreement with Antonov.
    7         43.   On or about July 14, 2010, a company called Omnicom filed a
    8   complaint against USAE alleging that in June 2010, USAE entered into an
    9   agreement with Omnicom to facilitate USAE’s introduction to the Antonov
   10   Company (the “Omnicom Complaint”).              Allegedly, the terms of the contract
   11   obligated USAE to pay a $1.5 million fee due within forty-eight hours after
   12   completion of a cooperation agreement between the Antonov Company and USAE,
   13   and another $1.5 million upon the consummation of a successful bid resulting from
   14   that agreement. At the time, USAE had insufficient funds to pay that fee, and did
   15   not anticipate obtaining such a significant sum anytime soon thereafter. Defendant
   16   Kirkland was purported to have participated in negotiating the Omnicom agreement.
   17         44.   According to Omnicom’s allegations, the contract was memorialized by
   18   a single letter of acknowledgement, dated June 4, 2010, purportedly sent by
   19   Omnicom CEO, Mark Suleymanov, to Board member Jerrold Pressman, who, upon
   20   information and belief, was at the time and continues to be a client of Defendant
   21   Kirkland on other unrelated matters. The Omnicom Complaint failed to allege any
   22   specific actions taken by Omnicom in performance of the alleged contract with
   23   USAE, much less explain why such actions constituted fair value for $3 million.
   24         45.   Regardless, on July 15, 2010, one day after the filing of the Omnicom
   25   Complaint, Defendant Kirkland and Defendant Pressman entered into a settlement
   26   agreement with Omnicom on behalf of USAE.               The settlement was a “pre-
   27   packaged” transaction, agreed to even before the Complaint was filed, to facilitate
   28   the issuance of free-trading shares. Under the terms of the settlement agreement,


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    1   Omnicom received 15 million free-trading shares of USAE common stock. At that
    2   time, 15 million shares of USAE common stock held a value of approximately $2.3
    3   million.    The settlement agreement specifically excluded from its release any
    4   subsequent claim by Omnicom that it was entitled to another $1.5 million in the
    5   event that the Company and the Antonov Company were successful in bidding on
    6   the project. Furthermore, Omnicom was represented in the litigation against USAE
    7   by attorney Matthew B. Gruenberg, a solo practitioner based in Santa Monica,
    8   California, who had been an associate with Drier LLP at the time Kirkland was a
    9   partner with that now-defunct firm.     Mr. Gruenberg also represents Defendant
   10   Pressman in other litigation where Defendant Pressman is being sued for investment
   11   fraud. The Omnicom settlement agreement was not submitted to the Company
   12   Board for approval before it was executed.4
   13         46.    On or about August 11, 2010, USAE’s Board of Directors post-hoc
   14   ratified the Omnicom settlement agreement and Defendant Kirkland’s role in
   15   approving the settlement.     In that same resolution, the Board accepted Mr.
   16   Duquette’s resignation as CEO and as a Board member, effective August 16, 2010,
   17   and appointed James Worsham to the Board and as the Company’s new CEO,
   18   effective September 29, 2010. Mr. Czikmantori also resigned as Secretary effective
   19
   20
        4
   21        The Company’s Form 10-Q/A for the period ending June 30, 2010, dated
        September 13, 2010, filed with the SEC discloses:
   22
              On August 20, 2010, we instructed our transfer agent to issue 5 million
   23
              shares and agreed to issue an additional 10 million shares to Omnicom
   24         Holdings pursuant to a stipulated settlement in an action filed by
   25         Omnicom for a $1.5 million commission claimed due in connection
              with our agreement with Antonov. The issuance was exempt from
   26         registration pursuant to Section 3(a)(10) of the Securities Act as an
   27         issuance approved by a court after a hearing upon the fairness of its
              terms and conditions.
   28
        USAE, Quarterly Report (Form 10-Q/A), at *8 (September 13, 2010).


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    1   August 16, 2010. Michael C. Cabral was appointed President effective August 23,
    2   2010.
    3           47.   Following the Omnicom settlement, 4.55 million shares of stock
    4   initially issued to Omnicom were then reissued to a number of other entities,
    5   including Zynatech, Aegis Capital, Adanta Partners, Omnivest Holdings, Net Gen,
    6   Oceanic Consulting, Insight Capital Consultants and James Meagher at the direction
    7   of Tom Biggs and Dick Fixaris, employees of Defendant Arnold. At least one of
    8   those companies had a pre-existing relationship with USAE.
    9           48.   The Company’s report on Form 10-Q for the period ending September
   10   30, 2010 reported,
   11           Operating loss for the three and nine months ended September 30,
   12           2010, was $12,156,947 and $14,235,297 compared to $66,166 and
   13           $108,525 for the three and nine months ended September 30, 2009. The
   14           increase in loss of $12,090,781 and $14,126,772, respectively, is
   15           primarily due to the impairment charge for the Strategic Cooperation
   16           Agreement, the acquisition of PAI, the reclassification of NCR as a
   17           discontinued operation and due to increased consulting services for
   18           new aerospace marketing and service contracts.
   19   USAE, Quarterly Report (Form 10-Q), at *4 (December 16, 2010) (emphasis
   20   added). The 10-Q goes on to report that $11,513,790 of this loss for the nine
   21   months ended September 30, 2010 was due to a “non-cash expense for impairment
   22   of an intangible asset,” that $319,319 of the loss was from “stock issued for
   23   services,” and another $1,500,000 of the loss was due to “stock issued for the
   24   settlement of a liability….” Id. at *5.
   25           49.   By December 2010, USAE required further financing to remain a going
   26   concern. The sole potential funding offer to USAE came from the same New York-
   27   based asset management firm that had extended credit, as discussed above. The
   28   tentative proposed terms were beneficial to the Company, but required the Company


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    1   to terminate the rights of the Series E holders in order to encourage further
    2   investment by market participants who otherwise would shy away from a company
    3   controlled by the Series E holders.
    4         50.    When informed of the proposed lender’s terms, Defendant Kirkland
    5   unilaterally rejected the proposed funding on behalf of the Company. Further,
    6   Defendant Kirkland asserted that he would prefer placing the Company into
    7   bankruptcy rather than accept the funding under the premise that the Series E
    8   holders could emerge from the proceedings owning a shell company containing the
    9   necessary licenses to enter into government contracts as well as the cooperation
   10   agreement with the Antonov Company.
   11         51.    Defendant Kirkland attempted to effect this purported rejection without
   12   consulting with the Board or the Company’s CEO, Mr. Worsham. The Company’s
   13   financial situation became increasingly precarious. Evidently, Defendant Kirkland
   14   and the Series E holders are in fact resigned to placing the Company in bankruptcy.
   15   Mr. Worsham and the Company, however, believe that with financing, USAE can
   16   avoid bankruptcy, become profitable, and protect the interests of the common
   17   shareholders and USAE’s creditors.
   18         52.    In late 2010, Mr. Worsham retained the law firm of Akin Gump Strauss
   19   Hauer & Feld LLP (“Akin Gump”) to investigate Defendant Kirkland’s actions.
   20   The Former Director Defendants were unaware that Akin Gump had been engaged
   21   by Mr. Worsham to conduct an investigation into their conduct and that of
   22   Defendant Kirkland.
   23         53.    On January 26, 2011, Akin Gump produced a memorandum (the “Akin
   24   Gump Memo”) describing misconduct by Kirkland and his colleagues, concluding
   25   that Kirkland had placed his own interests and those of the Majority Shareholder
   26   Defendants ahead of the interests of the Company, in violation of his professional
   27   and fiduciary duties. The Akin Gump Memo recommended that, at a minimum,
   28   Kirkland and his colleagues be divested of their duties.


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    1         54.    On January 27, 2011, following Mr. Worsham’s dissemination of the
    2   Akin Gump Memo to the Board, Mr. Worsham, Mr. Cabral and independent
    3   Director Randall Humphreys were removed, without cause, from USAE’s Board by
    4   Stockholder Written Consent signed by Richard Berkshire on behalf of Defendant
    5   ADI. Mr. Cabral was also removed as President of the Company at a January 28,
    6   2011 Board meeting. Mr. Worsham resigned a short time later by letter dated
    7   February 11, 2011, citing his opposition to Defendant Kirkland’s conduct.
    8         55.    On January 28, 2011, the Company filed form 15-12G with the SEC to
    9   deregister its stock. It reported a net loss for the quarter ended September 30, 2010,
   10   of $11.5 million on revenue of $660,144.
   11         56.    In an attempt to exculpate themselves from any claims of illegal
   12   activity, breach of fiduciary duty or the like, Defendants Arnold, Goldberg, Koock
   13   and Henderson enlisted the help of Defendant Kolker and purportedly each entered
   14   into a “Mutual General Release” (the “Releases”). Defendant Kolker was the only
   15   counterparty signatory to the individual Releases, signing on behalf of both USAE
   16   and PAI. The releases were drafted in the broadest possible terms to release the
   17   covered Defendants from liability for:
   18         [A]ny and all causes of action, rights, obligations, damages, liabilities
   19         and claims of any kind or nature whatsoever, at law and in equity,
   20         including without limitation all possible claims for breach of contract,
   21         quantum meruit, breach of fiduciary duty, aiding and abetting, fraud,
   22         negligent misrepresentation, wrongful termination, discrimination,
   23         sexual harassment, corporate waste, misappropriation, intentional
   24         misconduct,    professional   misconduct,    malpractice,   professional
   25         negligence, negligence, unpaid fees, salary, wages, vacation and
   26         overtime, and all claims in any way arising out of or relating to any
   27         relationship or dealings involving any of the USAE Parties (defined
   28         below) and any of the Releasee Parties (collectively, “Claims”).


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    1   (Emphasis added). As the Releases state, it was “the parties’ intention to fully,
    2   finally and forever settle, release and resolve all claims, regardless of whether
    3   known or unknown, foreseen or unforeseen, suspected or unsuspected, vested or
    4   contingent, accrued or unaccrued.”
    5         57.    There is no indication of what consideration, if any, was given in return
    6   for these extremely broad Releases executed in favor of Defendants Arnold,
    7   Goldberg, Koock and Henderson. More importantly, the timing of the Releases
    8   themselves indicates a serious lack of trustworthiness.             The Releases were
    9   purportedly executed on April 29, 2011, after the Akin Gump Memo had been
   10   issued and circulated and just before the filing of this lawsuit. Therefore, at the
   11   purported time of the signing of the Releases, Defendants well-knew that they were
   12   likely to become defendants in a lawsuit in the very near future.
   13         58.    In addition, it would be subjectively and objectively unreasonable for
   14   any person or persons, acting on behalf of USAE, to give up the right to investigate
   15   and prosecute potentially meritorious claims on behalf of the Company against the
   16   Former Director Defendants. However, because of his personal and business
   17   dealings with the Former Director Defendants, it was in Defendant Kolker’s self-
   18   interest to attempt to exculpate the former Board members, rather than act on the
   19   wrongdoing alleged herein.
   20         59.    In light of the serious nature of the breaches of fiduciary duty alleged
   21   herein, the execution of the Releases represents an independent, actionable breach of
   22   fiduciary duty. Additionally, because Defendant Kolker is an interested and
   23   conflicted party who is beholden to Defendants Kirkland and Arnold—due to
   24   extensive personal and financial ties—it would be impossible for him to act in a
   25   reasonable and/or objective manner. As such, the Releases are the product of fraud
   26   and are invalid and unenforceable.
   27         60.    Defendant Kolker also executed releases benefiting ADI and TUSA,
   28   which were substantially the same as those entered into with Defendants Arnold,


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    1   Goldberg, Koock and Henderson. The releases that were executed on behalf of ADI
    2   and TUSA suffer from the same infirmities as the other Releases, i.e., they are
    3   unreasonable and the product of Defendant Kolker’s self-interested desire to
    4   exculpate his business associates and friends. In addition, while the ADI and TUSA
    5   releases recite the inclusion of consideration on behalf of the “Releasees,” that
    6   consideration was likely worthless at the time of the signing of the contracts. As the
    7   ADI and TUSA releases provide, ADI agreed to the quitclaiming of “[t]wenty
    8   thousand (20,000) shares of Series E Convertible Preferred Stock … convertible into
    9   10,000,000 shares of Common Stock,” and TUSA agreed to the quitclaiming of
   10   “[t]en thousand (10,000) shares of the Series E Convertible Preferred Stock …
   11   convertible into 5,000,000 shares of Common Stock.”             However, the shares
   12   purportedly quitclaimed were virtually worthless on the purported date of the
   13   releases, April 29, 2011, due to the lack of a market.5 Also, as discussed herein, the
   14   Series E shares that ADI and TUSA claimed to be relinquishing were fraudulently
   15   granted in the first place and therefore were not the legal property of those entities,
   16   rendering the Releases void as the product of fraud and for lack of valid
   17   consideration.
   18         61.    By the actions alleged herein, Defendant Kirkland and, vicariously,
   19   Defendant Luce violated their professional responsibilities and fiduciary duties
   20   owed to USAE as USAE’s outside general counsel.             Defendant Kirkland has
   21   consistently placed his own interests and the objectives of other individuals before
   22   those of his client and acted well beyond the scope of his authority. Defendant
   23   Kirkland also violated his fiduciary duties of loyalty, good faith and care to the
   24
        5
   25         Yahoo finance reports that the adjusted stock price of USAE common stock
        on April 29, 2011 was $0.01. However, the volume on that day was only 54,500
   26   shares and the volume for the two preceding days was 9,400 and 12,800
   27   respectively. With such small volume it is unlikely that ADI or TUSA would have
        been able to sell any of the convertible shares, even if they were given the
   28   opportunity to do so.


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    1   Company and aided and abetted similar breaches of duty by the Former Director
    2   Defendants and the Majority Shareholder Defendants.
    3         62.   The Former Director Defendants have similarly breached their
    4   fiduciary duties of care and loyalty.      The Former Director Defendants have
    5   abdicated their responsibility to adequately monitor USAE’s business dealings and
    6   oversee Defendants Kirkland and Luce.
    7         63.   Further, the Majority Shareholder Defendants, ADI and TUSA, which
    8   control a majority of the USAE Board, have breached and continue to breach their
    9   fiduciary duties owed to the Company and the minority shareholders by insisting
   10   that the Company be placed into bankruptcy rather than accept financing which
   11   could allow the Company to become profitable and protect the interests of the
   12   common shareholders and USAE’s creditors.
   13         64.   Defendant Arnold has aided and abetted each of the foregoing breaches
   14   of fiduciary duty by Defendants Kirkland and Luce, the Former Director Defendants
   15   and the Majority Shareholder Defendants.
   16
   17                   V.     DERIVATIVE ACTION AND DEMAND
   18                             EXCUSED ALLEGATIONS
   19         65.   Plaintiff brings this action derivatively, in the right and for the benefit
   20   of the Company, to redress Defendants’ breaches of fiduciary duties, and
   21   Defendants Kirkland and Luce’s legal malpractice.
   22         66.   Plaintiff is an owner of USAE common stock and was an owner of
   23   USAE common stock at all relevant times hereto.
   24         67.   Plaintiff will adequately and fairly represent the interests of the
   25   Company and its shareholders in enforcing and prosecuting its rights.
   26         68.   As a result of the facts set forth herein, Plaintiff has not made any
   27   demand on the Board to institute this action against Defendants. Such demand
   28   would be a futile and useless act because a majority of the members of the Board are


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    1   incapable of making an independent and disinterested decision to institute and
    2   vigorously prosecute this action.
    3         69.    At the time of the breaches of fiduciary duty alleged herein, the USAE
    4   Board consisted of Mr. Cabral, Mr. Humphreys, Defendant Goldberg, Defendant
    5   Henderson, Defendant Koock and Defendant Pressman.          Defendants Goldberg,
    6   Henderson, Koock and Pressman were each hand-picked by Defendant Kirkland at
    7   the direction of Defendant ADI, a majority shareholder of the Company. Defendant
    8   ADI owns two-thirds of the Series E Convertible Preferred Stock of the Company.
    9   Together with TUSA, ADI owns a majority of the voting shares in USAE. As a
   10   result, four (4) of the six (6) directors in place at the time of the transactions
   11   described herein were controlled by, and beholden to, Defendants Kirkland and
   12   ADI. Therefore, a majority of the Board was conflicted and entangled with and
   13   controlled and dominated by Defendants Kirkland, Luce and ADI, preventing them
   14   from fairly considering, let alone taking, all necessary and proper action on the
   15   Company’s behalf.
   16         70.    Likewise, demand would have been futile if it had been made on the
   17   date of filing of this action. On May 18, 2011, the USAE Board consisted of one
   18   person, Defendant Hal Kolker. Defendant Kolker is a long-time associate and
   19   business partner of Defendants Arnold and Kirkland. In early 2010, Defendants
   20   Arnold and Kirkland introduced Defendant Kolker to USAE in order that Defendant
   21   Kolker might provide financing to the Company. Defendants Arnold and Kirkland
   22   represented to USAE’s then Chief Executive Officer, David Duquette, that
   23   Defendant Kolker had previously engaged in a number of business deals with
   24   Arnold and Kirkland. While Defendant Kolker did not invest in the Company at
   25   that time, he was later personally selected by Defendants Kirkland and Arnold to
   26   represent their interests—not the interests of the Company—after the ouster of the
   27   Board in 2011.
   28


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    1         71.     The most striking illustration of Defendant Kolker’s allegiance to the
    2   Defendants’ interests is his willingness to execute the Releases, which purport to
    3   exculpate Defendants Arnold, Goldberg, Henderson, Koock, ADI and TUSA.
    4   Because the consideration for those Releases is either nonexistent or essentially
    5   worthless, the Releases served no cognizable business interest. In addition, the
    6   purported timing of the signing of the Releases—after the Akin Gump letter was
    7   circulated and just before this action was filed—suggests that Defendant Kolker
    8   intended to protect the Defendants, to the detriment of the Company. Nevertheless,
    9   because USAE’s applicable corporate governance documents do not provide for the
   10   maintenance of a one person Board, it is unlikely that Defendant Kolker had the
   11   authority or ability to enter into the Releases on behalf of the Company. Most
   12   importantly, Defendant Kolker’s relationship with Defendant Kirkland and Arnold
   13   necessarily renders him interested and biased, rendering the Releases void and
   14   unenforceable. Defendant Kolker’s willingness to enter into the Releases, which
   15   serve no reasonable business purpose, demonstrates his inability to objectively judge
   16   a litigation demand.
   17         72.    Any demand made pursuant to Rule 23.1 of the Chancery Court Rules
   18   would have been futile as of the filing of this action on May 18, 2011, given the fact
   19   that: (a) Defendant Kolker has prior business and personal dealings with other
   20   Defendants, including Defendants Arnold and Kirkland, and therefore cannot be
   21   considered independent; and (b) Defendant Kolker’s actions while serving as the
   22   solitary Board member of USAE, including the signing of the Mutual General
   23   Releases, demonstrate that he was beholden to Defendants.
   24         73.    Demand is also excused because the underlying transactions
   25   complained of herein were not and could not have been the product of a valid
   26   exercise of business judgment.
   27         74.    Demand is also excused because the wrongs alleged herein constitute
   28   violations of the fiduciary duties owed by the Former Director Defendants and


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    1   Defendant Kolker and are incapable of ratification by the current Board. The
    2   Former Director Defendants and Defendant Kolker are subject to liability for
    3   breaching their fiduciary duties to USAE and Defendant Kolker for also aiding and
    4   abetting by, inter alia, failing to adequately monitor USAE’s business dealings and
    5   oversee Defendants Kirkland and Luce.
    6
    7                                      COUNT I
    8             Against Defendants Kirkland And Luce For Legal Malpractice

    9         75.    Plaintiff realleges the foregoing paragraphs as though fully set forth
   10   herein.
   11         76.    By accepting his position as USAE’s outside general counsel,
   12   Defendant Kirkland obligated himself to “conform his … representation to the
   13   concept that the client is the organization itself, acting through its highest authorized
   14   officer, employee, body, or constituent overseeing the particular engagement.” Cal.
   15   Rules Prof’l Conduct, Rule 3-600; see also Model Rules Prof’l Conduct, Rule 1.2
   16   (“[A] lawyer shall abide by a client’s decisions concerning the objectives of
   17   representation and, as required by Rule 1.4, shall consult with the client as to the
   18   means by which they are to be pursued.”).              Defendant Kirkland, however,
   19   consistently placed the objectives of the Series E holders, i.e., ADI, TUSA and their
   20   affiliates, before the well-being of the Company, in violation of his ethical duties.
   21         77.    Defendant Kirkland’s continued representation and/or affiliation with
   22   ADI and its interests constituted conflicts which should have precluded him from
   23   representing the Company.         Defendant Kirkland cannot ethically allow his
   24   representation of the Company to be directed by a client with adverse interests.
   25   Defendant Kirkland’s loyalty to the Series E holders rather than to the Company has
   26   caused, and continues to cause, USAE significant material harm. For example,
   27   Defendant Kirkland, acting at the behest of ADI, prevented the Company from
   28   considering essential funding offered by Centrecourt because its terms included the


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    1   limitation of the Series E stock. Defendant Kirkland’s preference for placing the
    2   Company into bankruptcy under the theory that the Series E holders would emerge
    3   as the owners of important USAE assets further underscores this conflict.
    4         78.    The State Bar of California, of which Defendant Kirkland is a member,
    5   proscribes the continued representation of a client in the face of such a conflict. See
    6   Cal. Rules of Prof’l Conduct, Rule 3-310(C) (“A member shall not, without the
    7   informed written consent of each client: (1) Accept representation of more than one
    8   client in a matter in which the interests of the clients potentially conflict; or (2)
    9   Accept or continue representation of more than one client in a matter in which the
   10   interests of the clients actually conflict ….”). Defendant Kirkland never provided
   11   the Company with notice of his existing conflict. Even so, such notice and consent
   12   could not absolve Defendant Kirkland of his ethical duty to pursue his client’s
   13   objectives rather than those of another.
   14         79.    Defendant Kirkland similarly violated California Rules of Professional
   15   Conduct, Rule 3-310(B), which states that “[a] member [of the Bar] shall not accept
   16   or continue representation of a client without providing written disclosure to the
   17   client where: … (3) [t]he member has or had a legal, business, financial,
   18   professional, or personal relationship with another person or entity the member
   19   knows or reasonably should know would be affected substantially by resolution of
   20   the matter; or (4) [t]he member has or had a legal, business, financial, or
   21   professional interest in the subject matter of the representation.” See also Model
   22   Rules of Prof’l Conduct R. 1.7 (“a lawyer shall not represent a client if the
   23   representation involves a concurrent conflict of interest”).     Defendant Kirkland
   24   never attempted to provide such disclosure to the Company, which in any event
   25   would have been inadequate.
   26         80.    Defendant Kirkland’s professional relationship with ADI obligated him
   27   to discontinue his representation of the Company.         Under California Rules of
   28   Professional Conduct, Rule 3-300, “[a] member shall not enter into a business


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    1   transaction with a client; or knowingly acquire an ownership, possessory, security,
    2   or other pecuniary interest adverse to a client ….”
    3         81.    The California Rules of Professional Conduct prohibited Defendant
    4   Kirkland from participating in USAE’s purchase of Antonov USA.                In that
    5   transaction, Defendant Kirkland did disclose his conflict to the Board, which
    6   purported to waive any such conflict on behalf of the Company. However, even if
    7   the Board were empowered to waive a conflict regarding the Company’s counsel,
    8   the majority of the Board members were appointed by ADI and therefore were
    9   hopelessly conflicted in the transaction.        The interested directors should have
   10   recused themselves from participating in the vote. Moreover, the purchase involved
   11   the effective sale of control over the Company to another of Defendant Kirkland’s
   12   clients and/or related parties. Defendant Kirkland therefore should not have asked
   13   for, or accepted, a waiver concerning such a clear conflict. Instead, he should have
   14   advised his client to obtain separate counsel to explore whether the transaction
   15   benefitted the Company and its shareholders, or just ADI and the ADI-appointed
   16   Board members.
   17         82.    Defendant Kirkland also breached his ethical duties by failing to
   18   consult or take direction from his client on important matters. Defendant Kirkland
   19   adopted a role beyond that of outside general counsel by immersing himself in the
   20   day-to-day management of the Company at ADI’s behest. In the context of the
   21   funding offer, it was beyond Defendant Kirkland’s duties as general counsel to take
   22   action without direction from the Company through its highest authorized officer,
   23   James Worsham. See Cal. Rules of Prof’l Conduct, Rule 3-600. After receiving
   24   such direction, Mr. Kirkland should have vigorously defended USAE’s position,
   25   whether or not he agreed with it, rather than promoting the position of the Series E
   26   holders.
   27         83.    Defendant Kirkland also violated his ethical duties by failing to inform
   28   the Company about the Omnicom settlement offer, let alone seek direction regarding


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    1   whether the offer was sufficiently advantageous. See Cal. Rules of Prof’l Conduct,
    2   Rule 3-510.
    3
    4                                   COUNT II
    5     Against Defendants Kirkland And Luce, The Former Director Defendants,
         Defendant Kolker And The Majority Shareholder Defendants For Breach Of
    6     Fiduciary Duty; And Against Defendants Arnold, Kirkland, And Luce For
    7                              Aiding And Abetting
    8         84.     Plaintiff realleges the foregoing paragraphs as though fully set forth
    9   herein.
   10         85.     Defendants agreed to and did participate with and/or aided and abetted
   11   one another in a deliberate course of action designed to divert corporate assets in
   12   breach of fiduciary duties they owed to the Company.
   13         86.     Defendants have violated fiduciary duties of care, loyalty, good faith,
   14   and independence owed to USAE and its public shareholders, have engaged in
   15   unlawful self-dealing and have acted to put their personal interest and/or their
   16   colleagues’ interests ahead of the interests of USAE and its shareholders.
   17         87.     Defendants Kirkland and Luce owed a fiduciary duty to USAE
   18   stemming from Defendant Kirkland’s position as outside general counsel and from
   19   his activities in managing the Company’s operations. Defendant Kirkland assumed
   20   an affirmative duty to protect the interest of the Corporation, but also an obligation
   21   to refrain from conduct which would injure the corporation and its stockholders or
   22   deprive them of profit or advantage.
   23         88.     The Former Director Defendants at all relevant times owed a duty of
   24   loyalty to USAE and its shareholders, including a duty to be independent and
   25   motivated by neither self-interest nor ill will. The Former Director Defendants
   26   breached this duty.
   27         89.     The Former Director Defendants at all times placed their own interests
   28   and interests of outside parties before the interests of USAE and its shareholders.


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    1   The Former Director Defendants approved and/or ratified the transactions that
    2   resulted in the transfer of significant numbers of shares to the Majority Shareholder
    3   Defendants for inadequate consideration to USAE.
    4         90.      The Former Director Defendants gave Summit Trading, a company
    5   controlled by Defendant Arnold, an option to purchase 5 million shares of USAE for
    6   no consideration to USAE.
    7         91.      The Former Director Defendants approved and/or ratified the sham
    8   settlement with Omnicom that resulted in millions of shares of USAE being
    9   transferred to outside parties for no consideration to USAE.
   10         92.      The Former Director Defendants approved and/or ratified Defendant
   11   Kirkland’s decision to reject crucial financing needed to keep USAE a going
   12   concern, thereby approving and/or ratifying, or taking no action to prevent actions
   13   that placed USAE in imminent danger of insolvency.
   14         93.      The Majority Shareholder Defendants at all times placed their own
   15   interests and interests of outside parties before the interests of the minority
   16   shareholders.
   17         94.      Defendant Arnold aided and abetted the foregoing breaches of fiduciary
   18   duties. Defendant Arnold had actual knowledge of all of Defendant Kirkland’s and
   19   the Former Director Defendant’s breaches of fiduciary duty. Defendant Arnold,
   20   along with Defendant Kirkland, misrepresented to the Company that Defendants
   21   Arnold and Kirkland owned certain USAE debt which was actually owed by
   22   Centrecourt.
   23         95.      Defendant Arnold, along with Defendant Kirkland and at the behest of
   24   ADI, directed the Company to expand the Board and to appoint four of the Former
   25   Director Defendants to the USAE Board. The Former Director Defendants installed
   26   by Defendant Arnold then granted Defendant Arnold’s company, Summit Trading,
   27   an option to purchase 5 million shares of USAE for no consideration.
   28


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    1         96.    Defendant Arnold also assisted in engineering a transaction in which
    2   USAE purchased Antonov USA from ADI and TUSA, resulting in ADI and TUSA
    3   owning the majority of the voting shares in USAE. Defendant Arnold’s wife is the
    4   President of TUSA. Defendant Arnold knew that Defendant Kirkland was placing
    5   his interests and those of the Majority Shareholder Defendants above those of USAE
    6   and its common shareholders and knew that USAE was to receive inadequate
    7   consideration for the transaction.
    8         97.    Moreover, Defendant Arnold had actual knowledge that Defendant
    9   Kirkland and Defendant Pressman engineered the sham settlement with Omnicom.
   10   Defendant Arnold directed his employees to re-issue a substantial portion of the
   11   stock issued to Omnicom to a series of other entities.
   12         98.    Finally, in light of the serious nature of the breaches of fiduciary duty
   13   alleged herein, the execution of the Releases, as described herein, by Defendant
   14   Kolker, purportedly on behalf of the Company, in an attempt to release Defendants
   15   Arnold, Goldberg, Henderson, Koock, and ADI from all liability, represents an
   16   independent, actionable breach of fiduciary duty.
   17         99.    As a proximate result of Defendants’ conduct, USAE has been injured
   18   and is entitled to damages.
   19
   20                                 COUNT III
        Against Defendants Kirkland And Luce And The Former Director Defendants
   21                             For Corporate Waste
   22         100. Plaintiff realleges the foregoing paragraphs as though fully set forth
   23   herein.
   24         101. Corporate waste is defined as an exchange of corporate assets for
   25   consideration so disproportionately small as to lie beyond the range at which any
   26   reasonable person might be willing to trade.
   27         102. There was no substantial consideration received by the Company in
   28   exchange for the Series E Convertible Preferred Stock issued to ADI and TUSA.


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    1         103. There was no substantial consideration received by the Company in
    2   exchange for the shares issued to Omnicom in connection with the Omnicom
    3   settlement.
    4         104. There was no substantial consideration received by the Company in
    5   exchange for the option to purchase 5 million shares of USAE granted to Summit
    6   Trading, a company controlled by Defendant Arnold.
    7         105. Under the circumstances, no reasonable business person could conclude
    8   that the aforementioned transactions were worthwhile for the Company and in the
    9   Company’s best interests.
   10         106. Defendants Kirkland and Luce and the Former Director Defendants are
   11   therefore guilty of committing corporate waste and are liable to the Company for all
   12   damages sustained thereby.
   13
   14                                PRAYER FOR RELIEF
   15         WHEREFORE, Plaintiff demands judgment as follows:
   16         A.      Against all of the Defendants and in favor of the Company for the
   17   amount of damages sustained by the Company as a result of Defendants’
   18   misconduct;
   19         B.      Granting appropriate equitable relief to remedy Defendants’ breaches
   20   of fiduciary duties;
   21         C.      Awarding to Plaintiff the costs and disbursements of the action,
   22   including reasonable attorneys’ fees, experts’ fees, costs, and expenses; and
   23         D.      Granting such other and further relief as the Court deems just and
   24   proper.
   25   ///
   26   ///
   27   ///
   28   ///


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                                    JURY TRIAL DEMAND
    1
    2        Plaintiff demands a trial by jury.
    3   DATED: February 19, 2015              WOLF HALDENSTEIN ADLER
    4                                          FREEMAN & HERZ LLP
                                              Francis M. Gregorek
    5                                         Betsy C. Manifold
                                              Rachele R. Rickert
    6                                         Marisa C. Livesay
    7
    8                                                  /s/ Rachele R. Rickert
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   15                                         Attorneys for Plaintiff
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    I                                       VERIFICATION
    2           I, Frederick Rich, am a party to this action. I hereby verify that I have read
    3   the foregoing Verified Second Amended Derivative Complaint, know its contents
    4   and authorized its filing.     The matters stated in the Verified Second Amended
    5 Derivative Complaint are true based on my own knowledge, except as to those
    6   matters stated on information and belief, and as to those matters I believe them to be
    7   true.
    8           I verify under penalty of perjury that the foregoing is true and correct.
    9
   10
   11   DATE: February.!%_, 2015

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    1                              CERTIFICATE OF SERVICE
    2
    3           I, Kathryn Cabrera, the undersigned, declare:
    4           1.    That declarant is and was, at all times herein mentioned a resident of
    5   the County of San Diego, over the age of 18 years, and not a party to or interested in
    6   the within action; that declarant's business address is 750 B Street, Suite 2770, San
    7   Diego, California 92101.
    8           2.    That on February 19, 2015, declarant served the following document(s)
    9   via the CM/ECF System to the parties who are registered participants of the
   10   CM/ECF System and via U.S. Mail to those parties as indicated on the attached
   11   service list who are not registered participants of the CM/ECF System:
   12
                VERIFIED SECOND AMENDED DERIVATIVE COMPLAINT
   13
   14           3.    That there is regular communication between the parties.
   15           I declare under penalty of perjury that the foregoing is true and correct.
   16   Executed this 19th day of February 2015, at San Diego, California.
   17
                                                y ~~
   18
   19
                                                KAV'HRcABRERA
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